  Case: 1:69-cv-02145 Document #: 6553 Filed: 10/16/19 Page 1 of 5 PageID #:57899




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MICHAEL L. SHAKMAN and PAUL M. LURIE, )
et al.,                               )
                                      )
           Plaintiffs,                ) Case No. 69 C 2145
                                      )
           v.                         ) Sidney I. Schenkier
                                      ) Magistrate Judge
COOK COUNTY ASSESSOR, et al.,         )
                                      )
           Defendants.
                                      )

UNOPPOSED MOTION TO AWARD PLAINTIFFS’ ATTORNEYS’ FEES AND COSTS
          WITH RESPECT TO THE COOK COUNTY ASSESSOR

        Plaintiffs, PAUL M LURIE, et al. (“Plaintiffs”), by their attorneys, respectfully ask the

Court to enter an order in a form attached as Exhibit 1 awarding the Plaintiffs’ their reasonable

attorneys’ fees and costs for work performed through September 30, 2019. In support of their

motion, the Plaintiffs state as follows:

        On September 19, 2012, the Court granted final approval of the Agreed Order addressing

outstanding issues between the Plaintiffs and the Cook County Assessor’s Office. Section VIII

provided that the parties would attempt to reach agreement on an award of attorneys’ fees and

costs to the Plaintiffs and that such award would be paid by Cook County.

        Notice that counsel intended to seek recovery of the fees and costs incurred monitoring

the Consent Decrees and the Agreed Order was provided to class members along with the notice

of approval of the Agreed Order.

        The Assessor has reviewed the invoices and the parties have negotiated and agreed to the

amount of fees and costs Plaintiffs now seek.




81531846v.1 8425200/00043
  Case: 1:69-cv-02145 Document #: 6553 Filed: 10/16/19 Page 2 of 5 PageID #:57900




        WHEREFORE, for the foregoing reasons, the Plaintiffs respectfully ask this Court to

enter the attached unopposed Order Awarding Plaintiffs’ Attorneys’ Fees and Costs awarding the

Plaintiffs $29,724.80 in fees and costs to Locke Lord LLP.

Dated: October 16, 2019                            Respectfully submitted,

                                                   PAUL M. LURIE, et al.


                                                   By:       /s/ Brian I. Hays
                                                             One of Their Attorneys

Roger R. Fross
Brian I. Hays
Locke Lord LLP
111 S. Wacker Drive
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81531846v.1 8425200/00043
  Case: 1:69-cv-02145 Document #: 6553 Filed: 10/16/19 Page 3 of 5 PageID #:57901




                                   Exhibit 1




81531846v.1 8425200/00043
  Case: 1:69-cv-02145 Document #: 6553 Filed: 10/16/19 Page 4 of 5 PageID #:57902




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


MICHAEL L. SHAKMAN, et al.,                 )
                                            )       No. 69 C 2145
                            Plaintiffs,     )
                                            )
                v.                          )
                                            )       Hon. Sidney Schenkier
COOK COUNTY ASSESSOR, et al.                )
                                            )
                            Defendants.     )

                                  ORDER
               AWARDING PLAINTIFFS’ ATTORNEYS’ FEES AND COSTS
                  WITH RESPECT TO COOK COUNTY ASSESSOR


        This case is before the Court on Plaintiffs’ Unopposed Motion to Award Plaintiffs’
Attorneys’ Fees and Costs with Respect to the Cook County Assessor for time through
September 30, 2019 filed by Locke Lord LLP. The Court is advised that the Plaintiffs and
defendant Cook County Assessor have reached an agreement on the amount to be awarded to
Plaintiffs’ counsel.

      The Court finds that the award of fees and costs is reasonable and appropriate and fairly
compensates counsel for their efforts on behalf of the Plaintiff classes.

       Plaintiffs’ counsel is hereby awarded $29,724.80 in fees and costs to Locke Lord LLP to
be paid by the County of Cook.

        It is so ordered.

Dated: October __, 2019                     ________________________________
                                                  Sidney Schenkier
                                                  Magistrate Judge




81531846v.1 8425200/00043
  Case: 1:69-cv-02145 Document #: 6553 Filed: 10/16/19 Page 5 of 5 PageID #:57903




                                      Certificate of Service

       I, Brian I. Hays, an attorney, state that on October 16, 2019, I caused a true and correct
copy of the foregoing to be served via e-filing upon all counsel of record.


                                                     ____/s/ Brian I. Hays___




81531846v.1 8425200/00043
